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 7
 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                              CASE NO. 2:11-cr-216-MCE
12                                 Plaintiff,               STIPULATION REGARDING
                                                            EXCLUDABLE TIME PERIODS
13   v.                                                     UNDER SPEEDY TRIAL ACT;
                                                            FINDINGS AND ORDER
14   DESHAWN RAY, and
     TIFFANY TUNG,
15
                                   Defendants.
16
17                                               STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant,

19 Tiffany Tung, by and through her counsel of record, hereby stipulate as follows:
20          1.       By previous order, this matter was set for March 27, 2014. The Court vacated the

21 March 27, 2014, date and set a status hearing for April 3, 2014.
22          2.       By this stipulation, the parties move to continue the case to May 1, 2014, as to

23 defendant Tiffany Tung only, and to exclude time between March 27, 2014, and May 1, 2014, under
24 Local Code T4.
25          3.       The parties agree and stipulate, and request that the Court find the following:

26          a.       The government recently provided early Jencks material related to a witness

27 interview, and the defense has asked the government to attempt to acquire information from one of
28 the banks, which might be relevant to the evidence that will be presented at trial.
29                                                      1
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 1          b.       The government does not object to the continuance.

 2          c.       Based on the above-stated findings, the ends of justice served by continuing the case

 3 as requested outweigh the interest of the public and the defendant in a trial within the original date
 4 prescribed by the Speedy Trial Act.
 5          d.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

 6 seq., within which trial must commence, the time period of March 27, 2014, to May 1, 2014,
 7 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(B)(iv) and Local Code T4
 8 because it results from a continuance granted by the Court at defendant’s request on the basis of the

 9 Court's finding that the ends of justice served by taking such action outweigh the best interest of the
10 public and the defendant in a speedy trial.
11          e.       The defendant is aware of and consents to the continuance.

12          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of

13 the Speedy Trial Act dictate that additional time periods are excludable from the period within which
14 a trial must commence.
15 IT IS SO STIPULATED.
16 DATED:            April 2, 2014.

17                                          /s/ Matthew G. Morris___________________
                                            MATTHEW G. MORRIS
18                                          Assistant United States Attorney
19 DATED:            April 2, 2014.
20
                                            /s/ Robert Byers (auth. 4/2/14)
21                                          ROBERT BYERS
                                            Counsel for Defendant
22
23                                          FINDINGS AND ORDER

24          IT IS SO ORDERED.

25 Dated: April 8, 2014
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29                                                       2
